     Case 1:16-cr-20893-FAM Document 216 Entered on FLSD Docket 05/01/2018 Page 1 of 1
                   ELEVENTH CIRCUIT TRANSCRIPT INFORMATION FORM
PART I.                                  TRANSCRIPT ORDER INFORMATION
Appellant to complete and file with the District Court Clerk and the Court of Appeals Clerk within 14 days of the filing of the notice of
appeal in all cases, including those in which there was no hearing or for which no transcript is ordered.

Short Case Style: United States of America                                     vs MONTY RAY GROW
District Court No.: 16-CR-20893-FAM                    Date Notice of Appeal Filed: 04/30/2018 Court of Appeals No.:
                                                                                                                                     (If Available)
CHOOSE ONE: ☐ No hearing ☐ No transcript is required for appeal purposes ☐ All necessary transcript(s) on file
                          ☐ I AM ORDERING A TRANSCRIPT OF THE FOLLOWING PROCEEDINGS:

Check appropriate box(es) and provide all information requested:
                                 HEARING DATE(S)                        JUDGE/MAGISTRATE                       COURT REPORTER NAME(S)
☐ Pre-Trial Proceedings        02/6/17& 01/6/18: Calendar Call           Federico A. Moreno                      Gilda Pastor-Hernandez

☐ Trial                          01/22/18 -2/5/18                       Federico A. Moreno                      Gilda Pastor-Hernandez

☐ Sentence                        04/16/18                              Federico A. Moreno                       Gilda Pastor-Hernandez

☐ Plea
☐ Other                         01/18/18: Status Conference              Federico A. Moreno                      Gilda Pastor-Hernandez

METHOD OF PAYMENT:
☐ I CERTIFY THAT I HAVE CONTACTED THE COURT REPORTER(S) AND HAVE MADE SATISFACTORY
  ARRANGEMENTS WITH THE COURT REPORTER(S) FOR PAYING THE COST OF THE TRANSCRIPT.
☐ CRIMINAL JUSTICE ACT. Attached for submission to District Judge/Magistrate is my completed CJA Form 24 requesting authorization
     for government payment of transcript. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY AUTHORIZED
     in Item 13 on CJA Form 24: Voir Dire; Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.]

Ordering Counsel/Party:     David Oscar Markus

Name of Firm:               Markus/Moss PLLC

Street Address/P.O. Box:    40 NW Third Street, PH 1

City/State/Zip Code:        Miami, Florida 33128                                                          Phone No.: (305)379-6667
I certify that I have completed and filed PART I with the District Court Clerk and the Court of Appeals Clerk, sent a copy to the appropriate Court
Reporter(s) if ordering a transcript, and served all parties.

DATE: 05/01/2018             SIGNED: /s/ David Oscar Markus                                          Attorney for: MONTY RAY GROW


PART II.                             COURT REPORTER ACKNOWLEDGMENT
Court Reporter to complete and file with the District Court Clerk within 14 days of receipt. The Court Reporter shall send a copy to
the Court of Appeals Clerk and to all parties.
Date Transcript Order received:
☐ Satisfactory arrangements for paying the cost of the transcript were completed on:
☐ Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:                Estimated no. of transcript pages:                Estimated filing date:
DATE:                    SIGNED:                                                      Phone No.:
NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the
transcript were completed unless the Court Reporter obtains an extension of time to file the transcript.

PART III.        NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
Court Reporter to complete and file with the District Court Clerk on date of filing transcript in District Court. The Court
Reporter shall send a copy to the Court of Appeals Clerk on the same date.
This is to certify that the transcript has been completed and filed with the district court on (date):
Actual No. of Volumes and Hearing Dates:
Date:                                  Signature of Court Reporter:
                                                                                                                                          Rev. 11/13
                    Print             Reset Form
